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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION


Kabbage, Inc., d/b/a KServicing,                  Civil Action No.

                          Plaintiff,              1:22-cv-02101-JPB

        vs.

Customers Bank,

                          Defendant.



     PLAINTIFF KSERVICING’S RESPONSE TO CUSTOMER BANK’S
          PARTIAL CONSENT MOTION FOR EXTENSION OF
          TIME TO RESPOND TO PLAINTIFF’S COMPLAINT
        Plaintiff Kabbage, Inc. d/b/a KServicing (“Plaintiff”) hereby files this

Response to Defendant Customers Bank’s (“Defendant”) Partial Consent Motion for

Extension of Time to Respond to Plaintiffs’ Complaint (the “Motion”). [ECF

No. 12].

                                 I.    RESPONSE

        Plaintiff filed this lawsuit because Defendant has been slow-playing its

payments to avoid paying Plaintiff tens of millions of dollars it is owed. Plaintiff

agreed by email to a 30-day extension of the deadline to file responsive pleadings,

and on Wednesday, June 22, 2022, offered to discuss further with Defendant on a

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call that had already been planned for Thursday, June 23, 2022. Defendant filed its

motion seeking an extension before the parties’ previously scheduled call. Plaintiff

and Defendant have since conferred by phone, and Plaintiff agrees to Defendant’s

request for a 60-day extension.

                              Signature on Next Page




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 DATED: June 27, 2022                       Respectfully submitted,

                                            By: /s/ Uchenna Ekuma-Nkama
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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION
 Kabbage, Inc. d/b/a KServicing

          Plaintiff,
                                              CIVIL ACTION NO.
 v.                                           1:22-cv-02101-JPB

 Customers Bank,

         Defendant.


                   CERTIFICATE OF SERVICE AND COMPLIANCE

      I certify that on June 27, 2022, I caused the foregoing PLAINTIFF

KSERVICING’S RESPONSE TO CUSTOMER BANK’S PARTIAL CONSENT

MOTION FOR EXTENSION OF TIME TO RESPOND TO PLAINTIFF’S

COMPLAINT to be filed with the Clerk of Court using the CM/ECF system, which

will automatically send e-mail notification of such filing to counsel of record. I also

certify this date that the foregoing was prepared in accordance with N.D. Ga. L.R.

5.1, using Times New Roman font, 14 point.

                                                       /s/ Uchenna Ekuma-Nkama
                                                       Uchenna Ekuma-Nkama




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